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                                                      UNITED STATES DISTRICT COURT
                                                         DISTRICT OF CONNECTICUT

JACK MONTAGUE                                                        :
  plaintiff,                                                         :
                                                                     :
v.                                                                   : CIVIL NO. 3:16-cv-00885(AVC)
                                                                     :
YALE UNIVERSITY, ANGELA                                              :
GLEASON, JASON KILLHEFFER,                                           :
AND OTHERS UNKNOWN,                                                  :
  defendants.                                                        :

    RULING ON THE PLAINTIFF’S AND THE DEFENDANTS’ MOTIONS TO COMPEL

              This is an action for damages and injunctive relief in

which the plaintiff, Jack Montague (hereinafter “Montague”),

alleges breach of contract and violations of 20 U.S.C. § 16811

and 42 U.S.C. § 1981.2                                         It is brought pursuant to 28 U.S.C. §

13313 and 28 U.S.C. § 1332.4

              Montague filed the within motion to compel production of

documents and answers to interrogatories. The defendants have


                                                            
1 20 U.S.C. § 1981 states in pertinent part that no “person in the United
States shall, on the basis of sex, be excluded from participation in, be
denied the benefits of, or be subjected to discrimination under any education
program or activity receiving Federal financial assistance.”
 
2 42 U.S.C. § 1981 states that all “persons within the jurisdiction of the

United States shall have the same right . . . to make and enforce contracts,
to sue, be parties, give evidence, and to the full and equal benefit of all
laws and proceedings for the security of persons and property as is enjoyed
by white citizens, and shall be subject to like punishment, pains, penalties,
taxes, licenses, and exactions of every kind, and to no other.”
 
3 28 U.S.C. § 1331 provides that the “district court shall have original

jurisdiction of all civil actions arising under the Constitution, laws, or
treaties of the United States.”
 
4 28 U.S.C. § 1332 states in relevant part that the “district courts shall

have original jurisdiction of all civil actions where the matter in
controversy exceeds the sum or value of $75,000 . . . and is between (1)
citizens of different states.”
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also filed two separate motions to compel production of

documents and a second deposition of James Montague.         Both

Montague and the defendants object to further requests for

production, interrogatories, and deposition.        For the reasons

that follow, Montague’s motion to compel (doc. no. 119) is

granted in part and denied in part.      The defendants’ motion to

compel (doc. no. 122) is granted in part and denied in part.

The defendants’ motion to compel (doc. no. 123) is granted in

part and denied in part.


                                 FACTS

     On January 25, 2017, Montague filed the amended complaint

in this case.   The amended complaint alleges that Montague was

unlawfully and improperly expelled from Yale University on or

about February 24, 2016 for alleged sexual misconduct.

     On October 30, 2017, Montague filed his motion to compel

production of documents and answers to interrogatories.

Specifically, Montague seeks to compel the production of

discovery concerning other Yale student disciplinary matters,

information concerning outcomes for other students whom Yale has

expelled for sexual misconduct, communications between Yale

administrators and the Yale Women’s Center concerning a social

media post in which the Women’s Center “outed [the] [p]laintiff

as a sexual assailant,” communications between its counsel and



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counsel for non-party witness Jane Roe surrounding her

deposition testimony, and materials presented at an annual

training for members of the Yale community responsible for the

investigation and adjudication of sexual assault complaints and

Yale’s compliance with Title IX.

        On November 8, 2017, the defendants filed a motion to

compel documents from plaintiff’s expert witnesses.

Specifically, the defendants seek to compel the production of

the following documents from one Stan Smith, PhD: (1) bills,

including an itemization as to the tasks performed, the amount

of time spend, and the hourly rate for each; (2) documents

demonstrating Dr. Smith’s calculation of the value of the

plaintiff’s lost wages and benefits; and (3) documents

identifying the assumptions and facts provided by Montague’s

counsel to Dr. Smith.       The defendants seek to compel the

production of the following documents from Susana Murphy, Esq.:

(1) notes marked as Exhibits T and U at Attorney Murphy’s

October 20, 2017 deposition; (2) the “run sheet” related to

Attorney Murphy’s work on Montague’s case; (3) bills subsequent

to September 11, 2017; and (4) materials published in connection

with the “ATIXA-Member of Title IX Investigators, Addressing

Sexual Assault Allegations K-12 Schools, Colleges and

Universities” seminar attended by Attorney Murphy in October

2014.

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     On November 10, 2017, the defendants filed a motion to

compel the following: (1) answers to the questions posed at the

deposition of Montague’s father, James Montague, regarding the

public relations firm Montague engaged to publicize Montague’s

position in this lawsuit and fundraising for Montague’s legal

fees; (2) documents exchanged between the public relations firm

and Montague’s mother, Kelly Montague, James Montague, Montague,

and/or Montague’s counsel; and (3) medical records relating to

Montague’s treatment for difficulties with his memory and/or

auditory processing.    The defendants seek to compel a second

deposition of James Montague, at the plaintiff’s expense.          The

defendants request that this deposition be held without anyone

else present besides the deponent, the court reporter, and

counsel for the parties.

                               STANDARD

     “[P]arties may obtain discovery regarding any nonprivileged

matter that is relevant to any party’s claim or defense . . . .”

Fed. R. Civ. P. 26(b)(1).     Furthermore, “relevant information

need not be admissible at the trial if the discovery appears

reasonably calculated to lead to the discovery of admissible

evidence.” Id.   “The definition of relevance [is] to be

liberally construed . . . .” Breon v. Coca-Cola Bottling Co.,

232 F.R.D. 49, 52 (D. Conn. 2005).      Moreover, the district court

has “wide latitude to determine the scope of discovery . . . .”

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In Re Agent Orange Product Liability Litigation, 517 F.3d 76,

103 (2d Cir. 2008).    “The objecting party bears the burden of

demonstrating specifically how, despite the broad and liberal

construction afforded [by] the federal discovery rules, each

request is not relevant or how each question is overly broad,

unduly burdensome or oppressive . . . .” Klein v. AIG Trading

Group Inc., 228 F.R.D. 418, 422 (D. Conn. 2005) (internal

citations and quotation marks omitted).

                              DISCUSSION

     I.   Montague’s Motion to Compel

          a. Documents Concerning Prior University Disciplinary
             Matters

     Montague first argues that “Yale should be ordered to

provide discovery regarding relevant precedential university

disciplinary matters.”    Specifically, Montague argues that he

seeks “relevant information concerning precedential [University-

Wide Committee on Sexual Misconduct (hereinafter “UWC”)]

disciplinary matters,” because, “[i]nformation about these cases

is relevant to [the] [p]laintiff’s claims, the scope of

information sought is proportional to the needs of the case, and

the information can be provided in such a way as to protect the

privacy interests of the individuals involved.”        More

specifically, Montague seeks “documents relating to a UWC case

known as the ‘dollar bills case,’” as well as, “certain other


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UWC cases, the outcomes of which were published in Yale’s semi-

annual Report of Complaints of Sexual Misconduct, in which the

respondent was found to have engaged in non-consensual sex but

was not expelled.”

     The defendants respond that “the requested discovery is

irrelevant and not proportional to the needs of this case and

that disclosure of these documents would violate the privacy

interests of individuals who are not parties to this action.”

Specifically, the defendants argue that “[d]]isclosure of this

material would violate the Federal Educational Rights and

Privacy Act, because it would include a disclosure of all

personally identifiable information in the educational records

of all of the students involved in each of those cases.”          The

defendants request that “in the event that the court is

considering requiring the production of any of these records,

the defendants request that the [c]ourt conduct an in camera

review in order to ensure that only those cases in which the

respondents were actually similarly situated to the plaintiff

are subject to disclosure.”

     The Federal Educational Rights and Privacy Act (hereinafter

“FERPA”) protects the confidentiality of educational records

kept by government-funded schools. 20 U.S.C. § 1232g.         FERPA

prohibits educational agencies from disclosing “educational

records” or “personally identifiable information contained

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therein” without parental consent or court order.         20 U.S.C. §

1232g(b)(1).

     While there may exist privacy issues with respect to the

documents concerning prior university disciplinary matters, the

defendants may redact such documents in order to protect the

privacy of the students involved.      The court concludes that the

information concerning relevant precedential university

disciplinary matters, specifically, the “dollar bills case” and

the cases listed in paragraph 179 of the amended complaint, is

relevant and that the defendants have failed to demonstrate that

disclosure of such documents in their redacted form would be

overly broad or unduly burdensome.      However, disclosure shall be

limited to UWC cases in which the respondent was similarly

situated to the plaintiff in that he or she was charged with

sexual penetration or intercourse without consent and he or she

had prior discipline imposed by either the UWC or the Executive

Committee.     The number of custodians whose electronically stored

information is to be searched and the number of search terms

applied shall be restricted so as to make the defendants’ task

of producing relevant information reasonable.

             b. Information Concerning Students Accused of Sexual
                Misconduct Since July 1, 2011

     Montague next argues that the defendant, Yale, should be

ordered to produce information in its possession concerning


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outcomes experienced by students expelled for sexual misconduct

since 2011.   Specifically, Montague “seeks limited discovery

into certain other UWC cases, the outcomes of which were

published in Yale’s semi-annual Report of Complaints of Sexual

Misconduct, in which the respondent was found to have engaged in

non-consensual sex but was not expelled, and a few rare cases

like [the] [p]laintiff’s where the respondent was expelled.”

     The defendants respond, “with the exception of information

regarding the prior disciplinary history of the accused

students, all of the information requested in this interrogatory

is. . . publicly available online,” and that this information

“is protected from disclosure by FERPA.”       The defendants request

that “[i]n the event that the [c]ourt is inclined to consider

requiring production of this information, the defendants request

that the [c]ourt conduct an in camera review in order to ensure

that the greatest protection possible is given to this highly

sensitive information, including the full redaction of any

information that might reasonably identify the students.”

     The court concludes that, to the extent the information is

already available to Montague, the motion to compel information

concerning students accused of sexual misconduct since July 1,

2011 is denied.   However, with respect to the information that

is not publicly available, namely, information regarding the

prior disciplinary history of the accused students, the motion

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to compel is granted.       The court directs the defendants to

redact any information that might reasonably identify any

students.

             c. Communications Between Yale Administrators and the
                Yale Women’s Center

        Montague next argues that he is “entitled to communications

between Yale administrators and leadership at the Women’s Center

surrounding these events because they are relevant to

determining, among other things, whether the original or edited

statements. . . are attributable to Yale.”          Specifically,

Montague argues that he “is entitled to learn through discovery

whether Yale played a role in outing him.”

        The defendants respond that the court “need not rule on

this issue, since the parties have now resolved it.”

        As the parties have agreed that compliance with this

discovery request will be limited to an electronic search of the

records of Dr. Melanie Boyd for the months of February and

March, 2016, and the search terms to be applied for that

electronic search will be “Montague OR Facebook,” the court

concludes that the motion to compel on this issue is moot.

             d. Communications Between Yale’s Counsel and Counsel
                for Ms. Roe

        Montague next argues that “Yale should be ordered to

produce communications between its counsel and counsel for Ms.

Roe.”    Specifically, Montague avers that “Yale’s conjuring of a

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joint defense agreement with Ms. Roe, who has no legal stake in

the outcome of this litigation, cannot shield communications

undertaken for this or any purpose.”

     The defendants respond, “[c]ontrary to the plaintiff’s

assertion, the defendants do not seek to assert a common

interest or joint defense privilege,” and that, “the requested

communications are protected from disclosure by the work product

doctrine.”   Specifically, the defendants aver that “the

communications between defense counsel and Attorney Sconzo

contain information relating to Yale’s defense strategy,” and

that, “the defendants and Ms. Roe have a common interest in

seeing the plaintiff’s expulsion upheld,” and therefore the

communications, “did not constitute a waiver of the protection

afforded by the work product doctrine.”

     The work product doctrine shields from disclosure

“documents and tangible things that are prepared in anticipation

of litigation or for trial by or for another party or its

representative (including the other party’s attorney,

consultant, surety, indemnitor, insurer, or agent).”          Fed. R.

Civ. P. 26(b)(3)(A).    It also protects against “disclosure of

the mental impressions, conclusions, opinions, or legal theories

of a party’s attorney or other representative concerning the

litigation.”   Fed. R. Civ. P. 26(b)(3)(B).       “Disclosure of

material protected by the work-product doctrine. . . results in

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a waiver of the protection afforded by that doctrine only when

the disclosure is to an adversary or materially increases the

likelihood of disclosure to an adversary.”        Coastline Terminals

of Connecticut, Inc. v. United States Steel Corp., 221 F.R.D.

14, 16-17 (D. Conn. 2003)(citing In re Steinhardt Partners,

L.P., 9 F.3d 230, 234-35 (2d Cir. 1993)).

     The communications between defense counsel and counsel for

Ms. Roe contain information relating to the defendants’ defense

strategy.    Furthermore, because the defendants and Ms. Roe have

a common interest in seeing Montague’s expulsion upheld, sharing

the defense strategy with counsel for Ms. Roe did not increase

the likelihood of disclosure of that strategy to Montague.

Therefore, the defendants’ disclosure of this information to

counsel for Ms. Roe does not constitute waiver of the work

product doctrine.    The court concludes that the motion to compel

communications between the defendants’ counsel and counsel for

Ms. Roe is denied.

            e. Documents Concerning the Fall 2015 Title IX/UWC
               Training

     Montague next argues that “Yale should be ordered to

produce documents concerning the Fall 2015 Title IX/UWC

training,” including, “documents sufficient to show the date(s)

of the annual Title IX/UWC training held in the Fall of 2015;

documents reflecting the agenda, syllabus, and/or curriculum for


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the training; attendance records for the training; any materials

presented or distributed in connection with the training; and

any recording of the training.”      Specifically, Montague avers

that “the training that Yale provided to these individuals is

relevant to questions concerning, among other things, how Yale

interpreted the various provisions of the UWC Procedures at

issue in this litigation, and the direction it provided to Title

IX officers, UWC panelists, fact-finders, and others regarding

compliance with those procedures.”

     The defendants respond that “[s]ince the [f]ourth [r]equest

for [p]roduction was propounded outside of the fact discovery

completion date, it is untimely and the defendants should not be

required to comply with those discovery requests.”

Specifically, the defendants aver that, “plaintiff’s counsel was

aware of the existence of the Title IX training materials well

prior to the close of discovery and decided not to request

them,” and that, “[s]ince the plaintiff has not alleged any

claims regarding the adequacy of the training provided to Title

IX Coordinators and/or UWC members, the requested documents are

irrelevant and not likely to lead to the discovery of relevant

information.”

     On September 13, 2016, Montague served requests for

production on the defendants, including a request which sought

“[a]ll documents provided to any agents or employees of Yale or

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anyone appointed to serve on a UWC Hearing Panel concerning the

operation, interpretations, or application and/or training on

UWC disciplinary proceedings from July 1, 2011, to the present.”

Montague served his specific request for documents concerning

the “Fall 2015 Title IX/UWC Training” on September 8, 2017,

after the June 30, 2017 deadline for fact discovery.          However,

because the documents at issue are relevant and responsive to

the earlier request served in 2016, the court grants the motion

to compel these documents.

     II.   The Defendants’ November 8, 2017 Motion to Compel

           a. Documents from Dr. Smith

               i. Dr. Smith’s Bills

     The defendants first argue that Montague is “required to

produce Dr. Smith’s bills, including an itemization as to the

tasks performed, the amount of time spent, and the hourly rate

for each,” and “communications between Dr. Smith and plaintiff’s

counsel which relate to compensation for Dr. Smith’s study or

testimony in this matter.”

     Montague responds that, “[a] testifying expert’s notes of

conversations with counsel are generally not discoverable.”

Specifically, Montague avers that “a testifying expert’s notes.

. . are protected from disclosure to the extent they reflect

communications with counsel not falling into one of three

exceptions set forth in Rule 26(b)(4)(C).”

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     Rule 26(b)(4)(C) of the Federal Rules of Civil Procedure

protects communications between a party’s attorney and any

expert witness, regardless of the form of the communications,

“except to the extent that the communications: (i) relate to

compensation for the expert’s study or testimony; (ii) identify

facts or data that the party’s attorney provided and that the

expert considered in forming the opinions to be expressed; or

(iii) identify assumptions that the party’s attorney provided

and that the expert relied on in forming the opinions to be

expressed.”

     Communications between Dr. Smith and Montague’s counsel

relating to compensation for Dr. Smith’s study or testimony are

not protected from disclosure.      The court concludes that the

defendants’ motion to compel with respect to Dr. Smith’s bills

is granted.

              ii. Documents Demonstrating Calculation of the
                  Value of the Plaintiff’s Lost Wages and
                  Benefits

     The defendants next argue that Montague is “required to

produce documents demonstrating Dr. Smith’s calculation of the

value of the plaintiff’s lost wages and benefits.” Specifically,

the defendants aver that, “[t]he defendant cannot assess the

reliability of Dr. Smith’s opinion without reviewing the

documents demonstrating his calculations.”

     Montague does not respond to this argument.

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     The court concludes that documents demonstrating

calculation of Montague’s lost wages and benefits are relevant

to assessing the reliability of Dr. Smith’s opinion.          Therefore,

the defendants’ motion to compel such documents is granted.

             iii. Documents Identifying the Assumptions and Facts
                  Provided by Montague’s Counsel

     The defendants next argue that Montague is “required to

produce communications between Dr. Smith and plaintiff’s counsel

which (1) identify facts of data that plaintiff’s counsel

provided and that the expert considered in forming the opinions;

and (2) identify assumptions that plaintiff’s counsel provided

and that the expert relied on in forming the opinions.”

     Montague responds that this portion of the defendants’

motion to compel is “moot,” because Montague’s counsel has

“produced all documents not protected under Rule 26(b)(4),

including communications between Plaintiff’s counsel and Ms.

Murphy in redacted form.”

     The court concludes that the defendants’ motion to compel

documents identifying the assumptions and facts provided by

Montague’s counsel to Dr. Smith is moot.

          b. Documents from Attorney Murphy

               i. Notes Taken and Reviewed by Attorney Murphy

     The defendants next argue that “[a]ny facts, data, or

assumptions provided by plaintiff’s counsel to Attorney Murphy


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are discoverable,” and that “the plaintiff should be compelled

to produce Exhibits T and U, with the exception of statements

reflecting plaintiff’s counsel’s mental impressions,

conclusions, opinions, or legal theories.”        The defendants

request an in camera inspection of Exhibits T and U “to

determine if any part thereof is protected from disclosure.”

     Montague responds, “[the] [d]efendants are improperly

seeking to invade the work product privilege which the Federal

Rules expressly confer upon certain expert materials.”

Specifically, Montague avers that “an expert’s notes reflecting

conversations with counsel must be protected from disclosure to

the same extend the underlying communications are protected,”

and that, “[t]he bulk of Ms. Murphy’s notes are not discoverable

because they reflect conversations with counsel not falling into

one of the three exceptions in Rule 26(b)(4)(C).”

     Ms. Murphy submitted an affidavit stating, in part, “[n]one

of my notes marked as Exhibit T or Exhibit U relate to the

compensation I was paid for my work in this case or identify any

assumptions provided to me by [p]laintiff’s counsel which I

relied in forming my opinions in this case.”        While Ms. Murphy

determined that Exhibit U contained seven pages of notes

reflecting conversations with counsel regarding various drafts

of her report, Montague produced the remaining three pages to



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the defendants, marked as “Exhibit X” during the second day of

Ms. Murphy’s deposition.

     The court directs Montague to submit Exhibits T and U to

the court for an in camera inspection to determine whether such

documents are protected communications under Rule 26(b)(4)(C).

              ii. Run Sheet

     The defendants next argue that “only those portions of the

run sheet which reflect plaintiff’s counsel’s mental

impressions, conclusions, opinions, or legal theories are

protected from disclosure,” and request an in camera inspection

of Attorney Murphy’s run sheet “to determine if any part thereof

is protected from disclosure.”

     Montague responds that he has already produced the run

sheet in a redacted form.

     The court concludes that the defendants’ motion to compel

the run sheet is moot.

             iii. Bills Subsequent to September 11, 2017

     The defendants next argue that “the plaintiff should be

compelled to produce any subsequent bills” relating to Attorney

Murphy’s work on this matter.

     Montague responds that he has already provided the invoices

issued subsequent to Ms. Murphy’s September 11, 2017 invoice.

     The court concludes that the defendants’ motion to compel

Ms. Muprphy’s bills subsequent to September 11, 2017 is moot.

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              iv. Materials Published with Seminar

     The defendants next argue that Montague “should be

compelled to provide any materials published in connection with

the ATIXA-Member of Title IX Investigators, Addressing Sexual

Assault Allegations K-12 Schools, Colleges and Universities

seminar attended by Attorney Murphy in October, 2014,” because

they are “relevant to whether Attorney Murphy is qualified to

testify as an expert witness concerning the defendant’s

investigation of the complaint of sexual misconduct made against

the plaintiff.”

     Montague responds that Ms. Murphy is unable to locate the

seminar materials requested.

     With respect to this request, the court orders Montague to

confirm that Ms. Murphy has no such materials in her possession.

     III. The Defendants’ November 10, 2017 Motion to Compel

          a. Information Regarding the Public Relations Firm and
             Fundraising for Legal Fees

               i. The Deposition of James Montague

     The defendants first argue that “[s]ince plaintiff’s

counsel instructed [James] Montague not to answer questions

regarding the public relations firm and the fundraising efforts

for the plaintiff’s legal fees, the defendants request that the

plaintiff be compelled to produce [James] Montague for a second

deposition limited to those two topics, and that the plaintiff


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be required to pay the expenses for said deposition.”

Specifically, the defendants aver that “[n]one of the questions

posed to Mr. Montague regarding the public relations firm and

the fundraising for legal fees sought information regarding a

communication between the plaintiff and his counsel made for the

purpose of obtaining or providing legal advice,” and that, “the

amount of money that has been paid to the public relations firm

and the amount of money raised to fund this lawsuit is relevant

to the issue of damages.”

     Montague responds, “[d]efendants should not be allowed to

re-open the deposition of James Montague to engage in irrelevant

and inappropriate inquiry concerning the funding of plaintiff’s

lawsuit.”   Specifically, Montague argues that the court “should

deny [the] [d]efendants’ request because the information sought

has no legitimate bearing on any of the claims or defenses in

this litigation, and because, under the circumstances, [the]

[p]laintiff should be entitled to maintain as attorney work

product information concerning the funding of this litigation

until such time as he prevails at trial and presses him claim

for attorney’s fees.”

     The defendants aver that the amount of money which has been

raised for Montague’s legal fees and the amount of money paid to

the public relations firm is relevant to Montague’s mitigation

of damages because “those funds could have been used to pay the

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outstanding bill at Yale University and obtain his transcript,

thereby enabling him to apply to other colleges and universities

in a timely manner.”    While the issues surrounding Montague’s

mitigation of damages may be relevant in this case, the amount

of money raised for Montague’s legal fees is not relevant to

whether Montague mitigated his damages.       The court concludes

that information regarding fundraising for Montague’s legal fees

is not relevant at this time.      The defendants’ motion to compel

information regarding fundraising for legal fees and to re-open

the deposition of James Montague for this purpose is denied.            If

the court determines that such information is necessary at a

later stage in the proceedings, the court may reopen discovery

for this limited purpose.

              ii. Documents Exchanged with Public Relations Firm

     The defendants next argue that “the plaintiff should be

compelled to produce documents exchanged between the public

relations firm and Mrs. Montague, Mr. Montague, the plaintiff,

and/or plaintiff’s counsel because such communications are not

protected by the attorney-client privilege or the work product

doctrine.”   Specifically, the defendants aver “the

communications with the public relations firm were made for the

purpose of publicizing the plaintiff’s position that he was

wrongfully expelled through the media, and not to obtain legal

services, and that the attorney-client privilege does not extend

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to the public relations firm.”      The defendants request an “in

camera review of the documents exchanged between the public

relations firm and Mrs. Montague, Mr. Montague, the plaintiff,

and/or plaintiff’s counsel to determine whether any are

protected from disclosure by the work product doctrine.”

     Montague responds, “[c]ommunications exchanged between and

among [the] plaintiff, plaintiff’s counsel, and Ms. Schwartzman

are protected attorney work product.”       Specifically, Montague

avers that, “[t]he purpose and timing of Ms. Schwartzman’s

retention in anticipation of [the] [p]laintiff’s filing a

lawsuit against Yale render all such communications a byproduct

of that litigation,” and that, “[w]hile not all such

communications necessarily pertain to litigation strategy or

reveal counsel’s mental impressions, they need not do so in

order to constitute work product.”

     Generally, public relations advice falls outside of the

ambit of protection of the “work-product” doctrine.         Fed. R.

Civ. P. 26(b)(3).    “At its core, the work-product doctrine

shelters the mental processes of the attorney, providing a

privileged area within which he can analyze and prepare his

client’s case.”   United States v. Nobles, 422 U.S. 225, 238

(1975).   However, because “attorneys often must rely on the

assistance of investigators and other agents in the compilation

of materials in preparation for trial,” the doctrine also

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protects “material prepared by agents for the attorney as well

as those prepared by the attorney himself.” Id. At 238-39.              The

purpose of the rule is to provide a zone of privacy for

strategizing about the conduct of litigation itself, not for

strategizing about the effects of the litigation on the public.

See Calvin Klein Trademark Trust v. Wachner, 198 F.R.D. 53

(S.D.N.Y. 2000). (citing United States v. Adlman, 68 F.3d 1495

(2d Cir. 1995)).

     In this case, it is unclear whether the communications

exchanged between Montague, Montague’s counsel, and the public

relations firm were made for the purpose of strategizing about

the conduct of litigation itself or solely for the purpose of

obtaining public relations advice.       The court concludes that an

in camera inspection is appropriate to determine whether the

communications exchanged between Montague, Montague’s counsel,

and the public relations firm are protected from disclosure by

the work product doctrine.

          b. Medical Records

     The defendants next argue that Montague “should be

compelled to produce all medical records related to his

difficulty with memory and/or auditory processing.”

Specifically, the defendants aver that “[m]edical records

regarding his memory and/or auditory processing difficulties are

certainly relevant to assessing the plaintiff’s ability to

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remember the encounters with the student whom the plaintiff was

accused of sexually assaulting,” and, “relevant to crediblity.”

     Montague respond that he “has always agreed to provide”

such medical records, and that the records were produced to the

defendants on December 7, 2017.

     The court concludes that the defendants’ motion to compel

medical records is moot.

                                CONCLUSION

     For the foregoing reasons, Montague’s motion to compel

(doc. no. 119) is GRANTED in part and DENIED in part.          The

defendants’ motion to compel (doc. no. 122) is GRANTED in part

and DENIED in part.    The defendants’ motion to compel (doc. no.

123) is GRANTED in part and DENIED in part.

     It is so ordered this 1st day of August, 2018 at Hartford,

Connecticut.



                                  ______/s/______________________
                                  Alfred V. Covello
                                  United States District Judge




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